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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                           )    CASE NO.:    1:11-CR-00026 LJO
11   UNITED STATES OF AMERICA,             )
                                           )    STIPULATION AND
12                    Plaintiff,           )    PROTECTIVE ORDER BETWEEN THE
                                           )    UNITED STATES AND NAMED
13                                         )    DEFENDANT’S ATTORNEY AND
                v.                         )    DEFENDANT
14                                         )
                                           )
15   JULIE DIANNE FARMER,                  )
                                           )
16                                         )
                      Defendant.           )
17                                         )
                                           )
18
19        WHEREAS, the discovery in this case is voluminous and contains a
20   large amount of protected personal information including but not
21   limited to Social Security numbers, dates of birth, driver’s license
22   numbers, bank account numbers, telephone numbers, and residential
23   addresses (“Protected Information”); and
24        WHEREAS, the parties desire to avoid both the necessity of large
25   scale redactions and the unauthorized disclosure or dissemination of
26   this information to anyone not a party to the court proceedings in
27   this matter;
28        The parties agree that entry of a stipulated protective order is
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 1   appropriate.
 2        THEREFORE, defendant Julie Dianne Farmer, by and through her
 3   counsel of record (“Defense Counsel”), and plaintiff the United
 4   States of America, by and through its counsel of record, hereby agree
 5   and stipulate as follows:
 6        1.    This Court may enter protective orders pursuant to Rule
 7   16(d) of the Federal Rules of Criminal Procedure, and its general
 8   supervisory authority.
 9        2.    This Order pertains to all discovery provided to or made
10   available to Defense Counsel as part of discovery in this case
11   (hereafter, collectively known as “the discovery”).
12        3.    By signing this Stipulation and Protective Order, Defense
13   Counsel agrees not to share, or communicate the contents therein, of
14   any documents that contain Protected Information with anyone other
15   than Defense Counsel and designated defense investigators and support
16   staff.    Defense Counsel may permit each defendant to view unredacted
17   documents in the presence of his attorney, defense investigators, and
18   support staff.   The parties agree that Defense Counsel, defense
19   investigators, and support staff shall not allow the defendants to
20   copy Protected Information contained in the discovery.          The parties
21   agree that Defense Counsel, defense investigators, and support staff
22   may provide the defendants with copies of documents from which
23   Protected Information has been redacted.
24        4.    The discovery and information therein may be used only in
25   connection with the litigation of this case and for no other purpose.
26   The discovery is now and will forever remain the property of the
27   United States Government.     Defense Counsel will return the discovery
28   to the Government or certify that it has been shredded at the

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 1   conclusion of the case.
 2            5.      Defense Counsel will store the discovery in a secure place
 3   and will use reasonable care to ensure that it is not disclosed to
 4   third persons in violation of this agreement.
 5            6.      Defense Counsel shall be responsible for advising his
 6   respective defendant, employees, and other members of the defense
 7   team, and defense witnesses of the contents of this
 8   Stipulation and Order.
 9            7.      In the event that a defendant substitutes counsel,
10   undersigned Defense Counsel agrees to withhold discovery from new
11   counsel unless and until substituted counsel agrees also to be bound
12   by this Order.
13            IT IS SO STIPULATED.
14
15   DATED:        May 2, 2011             By: /s/ Scott D. Howry
                                               SCOTT D. HOWRY
16                                             Attorney for Defendant
                                               JULIE DIANNE FARMER
17
18
19
     DATED:        May 6, 2011                     BENJAMIN B. WAGNER
20                                                 United States Attorney
21
                                           By: /s/ Kirk E. Sherriff
22                                             STANLEY A. BOONE
                                               KIRK E. SHERRIFF
23                                             Assistant U.S. Attorney
24
     IT IS SO ORDERED.
25
     Dated:        May 6, 2011                /s/ Lawrence J. O'Neill
26   b9ed48                               UNITED STATES DISTRICT JUDGE
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